Case 2:10-cr-00575-JCM-VCF   Document 116   Filed 10/21/11   Page 1 of 3
   Case 2:10-cr-00575-JCM-VCF     Document 116     Filed 10/21/11   Page 2 of 3




                                   ORDER
 IT IS HEREBY ORDERED that the Motion to Withdraw as Counsel (#114) is granted.
IT IS FURTHER ORDERED that a new CJA attorney shall be appointed for purposes
of Appeal. Dated this 21st day of October, 2011.


                                     __________________________
                                     Cam Ferenbach
                                     U.S. Magistrate Judge
Case 2:10-cr-00575-JCM-VCF   Document 116   Filed 10/21/11   Page 3 of 3
